                         IN THE UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION-DETROIT

In Re:
                                                         Case No. 24-41956-mar
  BRANDON HEITMANN,                                      Chapter 13
                                                         Hon. Mark A. Randon - Detroit
         Debtor
                                                     /

                          NOTICE OF MOTION FOR RELIEF FROM
                      AUTOMATIC STAY TO THE DEBTOR/RESPONDENT:

Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to
consult one).

If you do not want the court to Lift the Automatic Stay as to Creditor, Fifth Third Bank, N.A., or if you
want the court to consider your views on the Motion for Relief from Automatic Stay, within 14 days you
or your attorney must:

             File with the court a written response or an answer, explaining your position at:
                                     United States Bankruptcy Court,
                                           US Bankruptcy Court
                                        Eastern District of Michigan
                                            211 West Fort Street
                                             Detroit, MI 48226

If you mail your response to the court for filing, you must mail it early enough so the court will receive it
on or before the date stated above.

You must also mail a copy to:

James M. McArdle                                          Krispen S Carroll
Hladik, Onorato & Federman, LLP                           Chapter 13 Trustee
3290 West Big Beaver Road, Suite 117                      719 Griswold, Suite 1100
Troy, MI 48084                                            Detroit, MI 48226




                          [REST OF PAGE INTENTIONALLY LEFT BLANK]




     24-41956-mar       Doc 55-2     Filed 06/14/24       Entered 06/14/24 14:58:32       Page 1 of 2
If a response or answer is timely filed and served, the clerk will schedule a hearing on the motion, and you
will be served with a notice of the date, time and location of the hearing.

If you or your attorney do not take these steps, the court may decide that you do not oppose the relief
sought in the motion and may enter an order granting that relief.



                                                     Respectfully submitted,
Dated: June 14, 2024
                                                      /s/ James M. McArdle
                                                      James M. McArdle (P82443)
                                                      Hladik, Onorato & Federman, LLP
                                                      Attorney for Fifth Third Bank, N.A.
                                                      3290 West Big Beaver Road, Suite 117
                                                      Troy, MI 48084
                                                      Phone (248) 362-2600
                                                      Email: bankruptcy@hoflawgroup.com




     24-41956-mar       Doc 55-2     Filed 06/14/24     Entered 06/14/24 14:58:32        Page 2 of 2
